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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTSVILLE DIVISION

     BABY DOE, et al., 1

                  Plaintiffs,
                                                               CIVIL NO: 3:22-cv-00049-NKM-JCH
           -v.-

     JOSHUA MAST, et al.,

                  Defendants,


     DEFENDANT RICHARD MAST’S REPLY IN SUPPORT OF MOTION FOR LEAVE TO
      FILE SUPPLEMENTAL BRIEF TO SUPPORT MOTION TO VACATE PROTECTIVE
              ORDER AND/OR MOTION TO MODIFY PROTECTIVE ORDER

         Plaintiffs’ opposition (Dkt. No. 452) to Defendant Richard Mast’s motion to vacate and/or

 modify the Gag Order (Dkt. No. 442) (“Motion”) purports to raise five arguments to show that the

 Motion is “an exercise in redundancy, irrelevancy, and inaccuracy . . . and fires off unsupported

 allegations that have no purpose other than to be inflammatory.” (Pls.’ Opp’n at 1). We will address

 each of those five points in turn and demonstrate that they are merely words on paper that fail to

 address the motion substantively.

         First, Plaintiffs seem to take issue with the two principles enunciated in the three cases cited

 in the Motion that (1) the Federal Rules of Civil Procedure are there “to further the venerable

 constitutional principle of due process” (Greater Balt. Ctr. for Pregnancy Concerns v. Mayor & City

 Council, 683 F.3d 539, 561 (4th Cir. 2012) (King, J., dissenting) (citing Nelson v. Adams USA, Inc.,

 529 U.S. 460, 465 (2000)) and (2) due process requires adequate discovery. Nelson and Whitehorn

 v. Wolfgang's Steakhouse, Inc., No. 09 Civ. 1148, 2010 U.S. Dist. LEXIS 58460, at *8-*9 (S.D.N.Y.

 June 14, 2010) (citing district court cases from several circuits standing for the principle that civil


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   Given the Court’s dismissing all claims on behalf of Baby Doe, Baby Doe should be dropped
 from the caption. Memorandum Opinion and Order (Dkt. No. 455) at 59.
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 discovery is a due process right). Plaintiffs’ efforts to distinguish these cases are odd for two reasons.

 One, the cases were cited for the general proposition that discovery is a due process right. Are

 Plaintiffs arguing that discovery is only a due process right in the three specific fact scenarios and

 no others? That certainly cannot be the case, especially if one actually reads the cases in context.

        What Plaintiffs do seem to be arguing (although not expressly) is that because Defendants

 have had the opportunity to propound substantial discovery (quantitatively), any effective denial of

 discovery on-the-ground in Afghanistan via the Gag Order cannot be, ipso facto, a due process

 violation. (See Pls.’ Opp’n at n.2). But this argument runs up against the weight of logic. Discovery

 is a due process right measured not by the quantity of discovery requests, but by its importance as

 an element of a viable defense. The Motion explains exactly why discovery in Afghanistan is critical

 to Defendants’ defense. That cannot be gainsaid.

        Plaintiffs appear to recognize the logical flaw in their argument by stating that the Motion

 “offers no factual support for the assertions that the Protective Order has purportedly ‘suffocated

 investigations and third-party discovery in Afghanistan’ or precluded ‘specific individuals in

 Afghanistan who have, or can obtain, relevant information’ from doing so.” This argument is rich

 indeed. To begin, this is a motion to vacate an asymmetrical, ex parte Gag Order that was based

 upon a speculative declaration by John Doe that was devoid of any actual facts that the Does’ lives

 or their families’ lives would be at risk if known to the Taliban or their Afghani neighbors.

        To be sure, the declaration and the Gag Order were issued based upon the claimed viciousness

 of the Taliban and the Doe family members’ neighbors in Afghanistan. No one doubts the

 viciousness of the Taliban. However, now that we know that the Taliban are fully aware of the Does

 and this lawsuit, and now that we are aware that the Taliban have embraced the Does’ narrative on

 their official website, and now that we know the Taliban have no issue escorting AP reporters around

 the village of the “innocent farmer” while Afghani’s repeat the Doe/Taliban narrative, are we now

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 to bury the obvious conclusion that the viciousness of the Taliban and the neighbors are far more

 likely to operate against those Afghanis who assist Defendants and thus contradict the Doe/Taliban

 narrative?

        Further, the Motion was filed subject to Rule 11 and expressly states: “Defendant Richard

 Mast knows of specific individuals in Afghanistan who have, or can obtain, relevant information that

 would undermine John and Jane Doe’s claim that they are related to Baby Doe. These individuals

 will not sign non-disclosure agreements for a federal court; nor will they allow themselves to be

 exposed to the Taliban as witnesses for the Masts.” (Motion at 2-3). Is there a rule we are unaware

 of that requires signed declarations to move to vacate a Gag Order issued based upon speculation?

        Finally, the Motion demonstrates by evidence that Plaintiffs claim there are surviving siblings

 of Baby Doe. In addition, documents evidence that these siblings (or, at least some of them) are

 living with an Abdul Basir. Plaintiffs ignore these rather inconvenient facts in their opposition.

 Given the fact that Plaintiffs have presented zero evidence that they are, or were at any time, legal

 guardians of Baby Doe, discovery in Afghanistan is patently critical to the defense of this matter.

 Even if we were to assume there was an “innocent farmer” killed in the firefight at issue here, and

 even if we were to assume that one of his children was never found in the rubble of his home, no one

 has ever said, not even John Doe’s father, that they could personally identify Baby Doe, or even a

 picture of Baby Doe as an infant. The only evidence presented by Plaintiffs is that John Doe’s father

 informed the ICRC that the “innocent father” was a step-brother. Obviously, the siblings in

 Afghanistan, some of whom are adults, could provide critical evidence relating to Baby Doe’s true

 provenance. The fact that Plaintiffs have failed, and refused to provide, a DNA test speaks volumes.

        And, to be clear, the Motion does not argue that discovery as a due process right is

 unbounded. The extent of discovery is almost always a balancing act. See, e.g., Acevedo v. Ace

 Coffee Bar, Inc., 248 F.R.D. 550, 554 (N.D. Ill. 2008) (balancing privacy rights on one side against

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 the due process right to discovery and citing Whitehorn, 2010 U.S. Dist. LEXIS 58460, at *8). As

 should be clear to all, Baby Doe’s relationship to John and Jane Doe is at the heart of this case and

 that evidence is in Afghanistan. Given John Doe’s Asylum Declaration, allowing that discovery by

 vacating the Gag Order does not add any real risk to the Does that does not already exist. If there is

 a balancing to be done here, it should weigh heavily in favor of the Motion.

        Plaintiffs’ second argument is simply that there is overlap between this Motion and the

 previous motion to vacate (Dkt. No. 146 and as supplemented by Court Order [Dkt. No. 439]). Well,

 yes.

        Plaintiffs’ third argument, that there is federal question jurisdiction, is expressly foreclosed

 by the Court’s recent Memorandum Opinion and Order (Dkt. No. 455). There, the Court rejects

 Plaintiffs’ argument that there is federal question jurisdiction. (Mem. Op. at 32-38). 2

        Plaintiffs’ fourth argument is also effectively foreclosed by the Court’s ruling on federal

 question jurisdiction and Plaintiffs’ previous concession that there is no diversity jurisdiction.

 Plaintiffs have conceded that, as things stand now, there is no diversity jurisdiction. (See Plaintiffs’



 2
   It is worth noting that whatever it turns out the federal government decided was a U.S. foreign
 policy with regard to Baby Doe, one thing it was most certainly not was that John and Jane Doe are
 legal custodians. This is true for two obvious reasons. One, the decision predated anyone even
 knowing that John Doe’s father would willy-nilly hand the child off to his son. Two, the citations
 provided by Plaintiffs to make the argument (Pls.’ Opp’n at 3) say nothing about a U.S. government
 decision about John and Jane Doe’s custody of Baby Doe. In fact, the only document that even
 addresses this point at all is the government’s “Answer” (Dkt. No. 131) to the Amended Complaint
 that is no longer even relevant given the government’s dismissal from this case as a “nominal
 defendant.” But, even in that document, Plaintiffs’ deceptive editing makes the point. The paragraph
 cited by Plaintiffs does not state that there has been a foreign policy decision regarding John and Jane
 Doe’s claim to custody. It states quite vaguely that “in Federal Defendants’ understanding [edited
 out of Plaintiffs telling (emphasis added)], John and Jane Doe are Baby Doe’s true family and legal
 guardians and raised Baby Doe for 18 months before the Masts took physical custody of her.” Some
 vague “understanding” in a court document years after the so-called policy decision, which in turn
 pre-dates John Doe’s father’s hand-off of Baby Doe to John and Jane Doe, says nothing about the
 government’s foreign policy decision. Stated more succinctly, a present-tense “understanding” about
 that which occurred years ago says nothing about a past-tense foreign policy decision to turn Baby
 Doe over to MOLSA.
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 Reply to Defendant Ahmad Osmani’s Response to the Pipe Hitter Foundation’s Motion to Quash

 and Further Suggestion of Lack of Subject Matter Jurisdiction [Dkt. No. 274] at 1). 3 Thus, there is

 no diversity jurisdiction and there is no federal question jurisdiction. As noted in the Motion, the

 Court has an obligation to address this immediately. This obligation is now glaringly front and

 center.

           Plaintiffs’ fifth argument is confounding. They most certainly cannot be arguing that the

 protective order described by the Fourth Circuit in James v. Jacobson, 6 F.3d 233, 235-36 (4th Cir.

 1993) is identical to the Gag Order. It is not. They cannot logically make the argument that the

 terms of the protective order in James that are similar (or even identical to) the Gag Order were

 approved by the Fourth Circuit–those terms were not at issue. They also cannot claim to know which

 terms were agreed upon by the parties and which fewer terms were decided upon by the lower court.

 Plaintiffs’ other remark here about the viciousness of the Taliban is not contested. The Taliban are

 vicious tyrants. What we now know, however, is that the Taliban are fully aware of the Does and

 this litigation by virtue of the publicity that the Does and their counsel ginned up.

           For good measure, Plaintiffs throw in a bit of polemics of their own at the end of their

 opposition to the Motion. While they don’t tell us to what it is they are referring, it is likely the fact

 that the Motion presented evidence that Plaintiffs’ counsel had their hands in the PR campaign that

 itself informed the Taliban of the Does and their story. Plaintiffs choose not to refute the obvious

 implication of the documents. We’ll let the documents speak for themselves. What is most certainly

 true, as pointed out in the Motion, is what John Doe explained in his Asylum Declaration: the press

 coverage initiated by Plaintiffs provided all who care at all about the allegations spun in the Does’

 Amended Complaint, including the Taliban, most certainly are in the know now following the very


 3
  The Court should, sua sponte, correct its mistake in its recent Memorandum Opinion and Order
 (Dkt. No. 455) asserting the existence of diversity jurisdiction and dismiss this case forthwith.
 Barring that, Defendant Mast will file separately a motion for reconsideration.
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 same press coverage.

        We repeat the conclusion from the Motion.          From Day One, the Gag Order was an

 unconstitutional and patently illegal ex parte, asymmetrical infringement of Defendants’ First

 Amendment rights and has operated as a Due Process violation preventing Defendants from

 investigating the fraudulent narrative created by the Does with their legal counsel’s assistance. It is

 time to end this abuse of justice now. The Court should vacate the Gag Order or, at the very least,

 amend it to eliminate the requirement of a non-disclosure agreement and the prohibition against

 identifying John and Jane Doe.



 Dated: July 29, 2024                          Respectfully submitted,


                                               /s/David Yerushalmi
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 29, 2024, a copy of the foregoing was filed electronically. Notice

 of this filing will be sent to all parties for whom counsel has entered an appearance by operation of

 the Court’s electronic filing system. Parties may access this filing through the Court’s system. I

 further certify that a copy of the foregoing has been served by ordinary U.S. mail upon all parties for

 whom counsel has not yet entered an appearance electronically: none.

                                                       /s/David Yerushalmi
                                                       David Yerushalmi, Esq.




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